                   EXHIBIT A




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  CBL & ASSOCIATES PROPERTIES INC                                            Williams, Patrick

                                      List of Purchases and Sales

                          Purchase                   Number of           Price Per
         Date              or Sale                   Shares/Unit         Share/Unit

           4/17/2018                Purchase                        40                $4.3778
           4/17/2018                Purchase                         6                $4.3778
           4/17/2018                Purchase                        41                $4.3778




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